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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                            CASE NO. 2:08-CR-376 WBS
12                                 Plaintiff,             STIPULATED NOTICE OF TAKING
                                                          OF WITNESS DEPOSITION
13   v.                                                   PURSUANT TO RULE 15 AND
                                                          [PROPOSED] ORDER
14   LEONARD WILLIAMS,
15                                 Defendants.
16

17                                               STIPULATION
18           Pursuant to Rule 15 of the Federal Rules of Criminal Procedure, plaintiff United States of

19 America, by and through its counsel of record, and defendant Leonard Williams, by and through his
20 counsel of record, hereby stipulate as follows:

21        1. The government wishes to call witness Terrance Murrell at the trial commencing on July 8,

22           2014, and previously issued a witness subpoena to him.

23        2. Mr. Murrell is currently in New York, New York caring for his wife, who is receiving

24           treatment for cancer, including chemotherapy.

25        3. Mr. Murrell was originally expected to return to the Sacramento area in mid or late June

26           2014. This week Mr. Murrell informed counsel for the government that he cannot return to

27           the Sacramento area prior for the July 8, 2014 trial date, because his wife requires further

28           treatment in New York than originally expected. Mr. Murrell has stated to government
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 1      counsel that he cannot attend the trial because he has no one else to care for his ill wife. The

 2      only real candidates to do so would be Mr. Murrell’s father, who is 93 and incapable of

 3      caring for Mr. Murrell’s wife, or Mr. Murrell’s brother, who is blind and likewise cannot fill

 4      in.

 5   4. The government and the defendant stipulate that the above facts constitute “exceptional

 6      circumstances” pursuant to Rule 15(a)(1) of the Federal Rules of Criminal Procedure, and

 7      that the taking of Mr. Murrell’s deposition in New York for purposes of use at trial in this

 8      matter would be “in the interests of justice.” Fed. R. Crim. Pro. 15(a)(1). The parties request

 9      that the Court grant this motion to take Mr. Murrell’s deposition.

10   5. The parties have conferred and agreed upon a deposition date of June 20, 2014, at the United

11      States Attorney’s Office for the Southern District of New York, exact room location pending

12      confirmation of reservations that are in progress now, and exact time pending the treatment

13      schedule for Mr. Murrell’s wife. The government will provide further detailed notice to the

14      defense pursuant to Rule 15(b)(1) when finalized.

15   6. Pursuant to Federal Rule of Criminal Procedure 15(d), “if the defendant is unable to bear the

16      deposition expenses, the court must order the government to pay: (1) any reasonable travel

17      and subsistence expenses of the defendant and the defendant’s attorney to attend the

18      deposition; and (2) the costs of the deposition transcript.” Defendant Williams has appointed

19      counsel in this matter. Defendant Williams has indicated to the government, through

20      counsel, that he wishes to attend the deposition. The parties are already in communication

21      about coordination of the travel and expenses.

22   7. The parties stipulate and agree that pursuant to Rule 15(f) “[a]n order authorizing a

23      deposition to be taken under this rule does not determine its admissibility. A party may use

24      all or part of a deposition as provided by the Federal Rules of Evidence.”

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 1     8. The parties therefore stipulate and jointly request that the Court grant the motion to take Mr.

 2        Murrell’s deposition, and order the government to pay the expenses of the defendant and

 3        defense counsel to attend the deposition, as specified in Federal Rule of Criminal Procedure

 4        15(d).

 5 IT IS SO STIPULATED.

 6 DATED:          June 6, 2014.

 7                                       /s/ Christopher S. Hales________
                                         CHRISTOPHER S. HALES
 8                                       AUDREY B. HEMESATH
                                         Assistant United States Attorneys
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10
                                         /s/ Joseph Wiseman *        _
11                                       JOSEPH WISEMAN
                                         Counsel for Defendant LEONARD WILLIAMS
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13                                       * Signed with permission granted via email
14

15                                              ORDER

16        IT IS SO FOUND AND ORDERED.

17 Dated: June 9, 2014

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